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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                      )
                                               )
                Plaintiff,                     )
                                               )
       vs.                                     )       Cr. No. 20-01370-KWR
                                               )
JULIAN GARCIA III,                             )
                                               )
                Defendant.                     )


             UNITED STATES’ RESPONSE TO THE FIRST COURT PROPOSED
                              JURY INSTRUCTIONS

       The United States hereby responds to the First Court Proposed Jury Instructions, Doc.

122, as directed.

   1. Directed Questions 1 and 2: Whether references to Count 3 should be removed from
      these instructions; Whether a limiting instruction is needed as to Defendant’s plea of
      guilty as to Count 3, and, if so, the proposed language.

       Defendant did not plead guilty to Count 3 of the second superseding indictment. Docs.

116 and 123. Therefore, references should not be removed from the instructions and no limiting

instruction is necessary.

   2. Modification to Proposed Instruction at Page 2

       Reference to Count 3 should remain included because Defendant did not plead guilty.

   3. Modification to Proposed Instruction at Page 3

       Reference to Count 3 should remain included because Defendant did not plead guilty.

   4. Modification to Proposed Instruction at Page 9

       Reference to Count 3 should remain included because Defendant did not plead guilty.
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   5. Response to Proposed Instruction at Page 13

        The United States acknowledges the note to counsel and will provide input as required.

   6. Response to Proposed Instruction at Pages 15-16

        The United States acknowledges the note to counsel and will alert the Court as required.

   7. Response to Proposed Instruction at Page 17

        The United States acknowledges the note to counsel and will alert the Court as required.

   8. Response to Proposed Instruction at Page 18

        The United States acknowledges the Court’s modification and the note to counsel and

will alert the Court as required.

   9. Response to Proposed Instruction at Pages 20-21

        The United States acknowledges the Court’s modification and the note to counsel.

   10. Response to Proposed Instruction at Page 22

        The United States acknowledges the Court’s modification and agrees that the causation

standard utilized by the Court below the Government’s Proposed Instruction 16 suffices.

   11. Modification to Proposed Instruction at Page 24

        The Instruction relating to Count 3 should remain included because the Defendant did not

plead guilty.

   12. Objection and Proposed Modification to Proposed Instruction at Pages 26-28

        The United States acknowledges the note to counsel and the Court’s preference to utilize

a pattern instruction. The United States agrees that an instruction on causation is required in this

case.

        The United States respectfully objects to certain language in this proposed instruction and

requests that whatever language remains after resolution of the objections be incorporated into

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the Court’s proposed instruction covering Count 2. If it remains a separate instruction, there is

some danger that jurors will confuse the instruction to apply to other counts in addition to Count

2. The government understands that NMRA UJI 14-134 is typically provided as a separate and

independent instruction. However, because there are other counts that do not require direct proof

of defendant’s intoxication in the present Indictment, merger of language from Count 2 and this

proposal is warranted to ease the jury’s understanding and use of the instructions.

       The United States objects to language in this proposal as follows:

       -    “In addition to the other elements set forth in Count II, the Government must also

            prove to your satisfaction beyond a reasonable doubt that….” This language will be

            surplusage if the remaining portions of the instruction are incorporated into the

            exiting proposed instruction for Count 2.

       -    “1. Jane Doe suffered bodily injury;” The Court’s modification to the proposed

            instruction for Count 2 already includes this element as follows: “Second: As a result

            of this unlawful act, the defendant caused bodily injury to Jane Doe.” Including

            similar language twice is duplicative and may confuse the jury.

       -    “The bodily injury was the foreseeable result of the defendant's act of operating an

            off-highway motor vehicle while under the influence of intoxicating liquor or drugs;

            and….” The court’s modification expands on the UJI. The United States respectfully

            requests that this language be shortened to the language provided in the pattern

            instruction: “The injury or harm was the foreseeable result of the defendant's act;

            and….” If modified and incorporated, this should be included in the Count 2

            instruction as the new Third element, moving the Fourth and Fifth elements to

            become Fifth and Sixth elements.

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   13. Response to Proposed Instruction at Page 29

       The United States acknowledges the Court’s modification and the note to counsel.

   14. Response to Proposed Instruction at Page 32

       The United States acknowledges the Court’s note to counsel and will alert the Court as

required.

   15. Response to Proposed Instruction at Page 35

       The United States acknowledges the Court’s note to counsel and will alert the Court as

required.

   16. Response to Proposed Instruction at Page 37

       The United States acknowledges the Court’s note to counsel and will alert the Court as

required.

   17. Response to Proposed Instruction at Page 38

       The United States acknowledges the Court’s note to counsel and will alert the Court as

required.

   18. Modification to Proposed Instruction at Page 39

       The United States respectfully requests that the instruction remain as proposed or

modified to reflect the following. The United States intends to admit exhibits 6-8 and will utilize

paper copy transcripts as demonstrative aids while the recordings are being played. In its Second

Amended Exhibit List, Doc. 117, the United States included the following footnote: “In trial

binders prepared for the Court and Counsel, Exhibits 6-8 include Exhibits 6A-8A, which are

transcripts of the recordings. These transcripts are not included in the United States’ JERS

submission and paper copies will be utilized as demonstrative aids for Jurors during trial.”



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   19. Response to Proposed Instruction at Page 41

       The United States acknowledges and appreciates the Court’s correction of this typo.

   20. Response to Proposed Instruction at Pages 45-47

       The United States acknowledges and appreciates the Court’s consolidation and

modifications.

                                                      Respectfully submitted,

                                                      FRED J. FEDERICI
                                                      Acting United States Attorney

                                                      Electronically filed on September 10, 2021
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I HEREBY CERTIFY that on September 10, 2021,
I filed the foregoing electronically through the
CM/ECF System, which caused counsel for the
defendant to be served by electronic means, as more
fully reflected on the Notice of Electronic Filing.

/s/
ALEXANDER F. FLORES
Assistant United States Attorney




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